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15                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
16                                       SAN FRANCISCO DIVISION

17   In re: CATHODE RAY TUBE (CRT) ANTITRUST                        Case No. 07-cv-05944 (SC)
     LITIGATION
18                                                                  MDL No. 1917
19   This Document Relates To:                                      [PROPOSED] ORDER DENYING
                                                                    THE TOSHIBA DEFENDANTS’
20   ALL INDIRECT PURCHASER ACTIONS                                 MOTION FOR SUMMARY
                                                                    JUDGMENT CONCERNING
21   Electrograph Systems, Inc. et al. v. Hitachi, Ltd.             WITHDRAWAL
     etal., No. 11-cv-01656;
22
     Siegel v. Hitachi, Ltd.,et al. No. 11-cv-05502;
23
     Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al., No.
24   11-cv-05513;

25   Target Corp., et al. v. Chunghwa Picture Tubes,
     Ltd., et al., No. 11-cv-05514;
26
     Sears, Roebuck and Co., et al. v. Chunghwa
27   Picture Tubes, Ltd., et al., No. 11-cv-05514-SC;

28   Interbond Corporation of America v. Hitachi, et
                                                                1
              [PROPOSED] ORDER DENYING TOSHIBA’S MOTION FOR SUMMARY JUDGMENT CONCERNING WITHDRAWAL
                                         CASE NO. 07-5944-SC; MDL NO. 1917
             Case 4:07-cv-05944-JST Document 3280-5 Filed 12/23/14 Page 2 of 3




 1   al., No. 11-cv-06276;
 2   Office Depot, Inc. v. Hitachi, Ltd., et al.,
     No. 11-cv-06276;
 3
     Sharp Elecs. Corp. v. Hitachi, Ltd.,
 4   No. 13-cv-01173;
 5   CompuCom Systems, Inc. v. Hitachi, Ltd. et al., No.
     11-cv-06396;
 6
     Costco Wholesale Corp. v. Hitachi, Ltd., et al., No.
 7   11-cv-06397;
 8   P.C. Richard & Son Long Island Corp., et al. v.
     Hitachi, Ltd., et al., No. 12-cv-02648;
 9
     Schultze Agency Services, LLC v. Hitachi, Ltd., et
10   al., No. 12-cv-02649;
11   Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
     13-cv-00157;
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     ViewSonic Corp. v. Chunghwa Picture Tubes, Ltd.,
13   et al., No. 3:14-cv-02510
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             [PROPOSED] ORDER DENYING TOSHIBA’S MOTION FOR SUMMARY JUDGMENT CONCERNING WITHDRAWAL
                                        CASE NO. 07-5944-SC; MDL NO. 1917
           Case 4:07-cv-05944-JST Document 3280-5 Filed 12/23/14 Page 3 of 3




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 2                Upon consideration of the Toshiba Defendants’ Motion for Summary Judgment

 3   Concerning Withdrawal, all papers filed in support of and in opposition to said motion and the

 4   arguments of counsel, IT IS HEREBY ORDERED:

 5                The Motion is DENIED.

 6

 7

 8           DATED:                                    _________________________________

 9                                                             HON. SAMUEL CONTI
                                                          UNITED STATES DISTRICT JUDGE
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            [PROPOSED] ORDER DENYING TOSHIBA’S MOTION FOR SUMMARY JUDGMENT CONCERNING WITHDRAWAL
                                       CASE NO. 07-5944-SC; MDL NO. 1917
